                                                             Case 2:21-cv-00691-DLR Document 55 Filed 12/09/21 Page 1 of 3



                                                    1   Justin D. Kingsolver (AZ Bar No. 035476)
                                                        CROWELL & MORING LLP
                                                    2   1001 Pennsylvania Avenue, N.W.
                                                        Washington, DC 20004
                                                    3   Telephone: (202) 624-2500
                                                        Email: JKingsolver@crowell.com
                                                    4
                                                        Gabriel M. Ramsey (CA Bar No. 209218)*
                                                    5   Kristin Madigan (CA Bar No. 233436)*
                                                    6   Kayvan M. Ghaffari (CA Bar No. 299152)*
                                                        Jacob Canter (CA Bar No. 324330)*
                                                    7   CROWELL & MORING LLP
                                                        3 Embarcadero Center, 26th Floor
                                                    8
                                                        San Francisco, CA 94111
                                                    9   Telephone: (415) 986-2800
                                                        Email: GRamsey@crowell.com
                                                   10
                                                   11        *Admitted pro hac vice

                                                   12   Attorneys for Defendant Proctorio, Inc.
C ROWELL & M ORING LLP




                                                   13
                                                                             IN THE UNITED STATES DISTRICT COURT
                         A T TOR NEY S A T L A W




                                                   14                            FOR THE DISTRICT OF ARIZONA

                                                   15   Erik Johnson, an individual,                       Case No. 2:21-cv-00691-DLR
                                                   16                      Plaintiff,                      PROCTORIO INC.’S NOTICE OF
                                                        v.                                                 SERVICE OF DISCOVERY
                                                   17
                                                        Proctorio, Inc., a Delaware corporation,
                                                   18
                                                                      Defendant.
                                                   19   ____________________________________
                                                   20   Proctorio, Inc., a Delaware corporation,
                                                   21                      Counterclaimant,
                                                        v.
                                                   22
                                                        Erik Johnson, an individual,
                                                   23
                                                                           Counterdefendant.
                                                   24
                                                   25            Pursuant to LRCiv. 5.2, Defendant Proctorio, Inc. (“Proctorio”), by and through its
                                                   26   undersigned counsel, hereby gives notice that a Subpoena to Produce Documents was
                                                   27   served upon third-party Reddit, Inc., via a process server, on December 6, 2021.
                                                   28
                                                                                                       1
                                                         Case 2:21-cv-00691-DLR Document 55 Filed 12/09/21 Page 2 of 3



                                                    1
                                                        Dated: December 9, 2021             CROWELL & MORING LLP
                                                    2
                                                    3
                                                                                            By: /s/ Jacob Canter
                                                    4                                          Jacob Canter*
                                                                                               CROWELL & MORING LLP
                                                    5                                          3 Embarcadero Center, 26th floor
                                                                                               San Francisco, CA 94111
                                                    6                                          Telephone: (415) 986-2800
                                                                                               Email: JCanter@crowell.com
                                                    7
                                                                                                Justin D. Kingsolver
                                                    8                                           CROWELL & MORING LLP
                                                                                                1001 Pennsylvania Avenue NW
                                                    9                                           Washington, D.C. 20004
                                                                                                Telephone: (202) 624-2500
                                                   10                                           Email: JKingsolver@crowell.com
                                                   11                                           Gabriel M. Ramsey*
                                                                                                Kristin Madigan*
                                                   12                                           Kayvan M Ghaffari*
                                                                                                CROWELL & MORING LLP
C ROWELL & M ORING LLP




                                                   13                                           3 Embarcadero Center, 26th floor
                         A T TOR NEY S A T L A W




                                                                                                San Francisco, CA 94111
                                                   14                                           Telephone: (415) 986-2800
                                                                                                Email: GRamsey@crowell.com
                                                   15
                                                                                                 *Admitted pro hac vice.
                                                   16
                                                                                                Attorneys for Defendant Proctorio, Inc.
                                                   17
                                                   18
                                                   19
                                                   20
                                                   21
                                                   22
                                                   23
                                                   24
                                                   25
                                                   26
                                                   27
                                                   28
                                                                                            2
                                                          Case 2:21-cv-00691-DLR Document 55 Filed 12/09/21 Page 3 of 3



                                                    1                                 CERTIFICATE OF SERVICE
                                                    2          I hereby certify that on December 9, 2021, I caused the foregoing to be
                                                    3   electronically filed with the Clerk of the Court using the Court E-Filing system, which
                                                    4   sends notification of such filings to all registered participants.
                                                    5
                                                    6                                               By:    /s/ Jacob Canter
                                                                                                           Jacob Canter
                                                    7
                                                                                                           Attorney for Defendant Proctorio, Inc.
                                                    8
                                                    9
                                                   10
                                                   11
                                                   12
C ROWELL & M ORING LLP




                                                   13
                         A T TOR NEY S A T L A W




                                                   14
                                                   15
                                                   16
                                                   17
                                                   18
                                                   19
                                                   20
                                                   21
                                                   22
                                                   23
                                                   24
                                                   25
                                                   26
                                                   27
                                                   28
                                                                                                       3
